      Case 1:24-cv-00037-CCC      Document 3     Filed 01/10/24    Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIET JONES,                             :   CIVIL ACTION NO. 1:24-CV-37
                                          :
                  Plaintiff               :   (Judge Conner)
                                          :
            v.                            :
                                          :
METRO ONE LOSS PREVENTION                 :
SERVICES GROUP, INC.,                     :
                                          :
                  Defendant               :

                         CASE ASSIGNMENT ORDER

      AND NOW, this 10th day of January, 2024, upon consideration of the

complaint commencing the above-captioned civil action, which has been assigned

to the undersigned, it is hereby ORDERED that:

      1.    If service of the initial pleading cannot be made within the time
            required by the Federal Rules of Civil Procedure, counsel shall submit
            an appropriate motion for extension of time addressing the reasons for
            the delay and the course of action requested.

      2.    The court will issue an order setting a date and time for a mandatory
            case management conference in accordance with Federal Rule of Civil
            Procedure 16 and Local Rule of Court 16.1 once joinder of this matter
            has been accomplished.

      3.    It is essential that the answer or other responsive pleading or motion
            be filed in the time provided by the Federal Rules. Counsel as well
            as pro se litigants shall not enter into agreements for extension of time
            without seeking court approval. Any such request shall be made by
            appropriate motion in conformity with the Local Rules.

      4.    The parties shall comply fully with Rule 26 and other provisions of
            the Federal Rules. Counsel shall not cease active discovery pending
            disposition of a motion to dismiss.
Case 1:24-cv-00037-CCC    Document 3     Filed 01/10/24   Page 2 of 2




5.   Inquiries concerning scheduling matters, courtroom logistics, and
     other matters should be directed to chambers at (717) 221-3945.



                              /S/ CHRISTOPHER C. CONNER
                              Christopher C. Conner
                              United States District Judge
                              Middle District of Pennsylvania
